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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff,
v.                                      Case No. 2:20-cr-62
                                        JUDGE SARAH D. MORRISON

STEVEN G. ROSSER,
WHITNEY R. LANCASTER,

                    Defendants.


                ORDER SETTING AMENDED CASE SCHEDULE

        This matter comes before the Court for consideration of a Motion to Continue

Trial and to Propose Deadlines (ECF No. 47) filed by the Government regarding to

the currently-scheduled August 16, 2021 final pre-trial and the August 23, 2021

jury trial. The Government seeks a continuance based upon extensive discovery and

recent discussions among the parties indicating that the matter will not be resolved

via plea agreement(s). Id. The Government further requests a designation under 18

U.S.C. §3161(h)(7)(B)(ii) that this case is unusual or complex so as to toll speedy

trial considerations. Id. Defendants concur with the requested designation. Id.

        The Court concurs with the parties and determines that this matter is so

unusual or so complex under 18 U.S.C. §3161(h)(7)(B)(ii) because the discovery

already provided is over 990 gigabytes of material. The Court finds this aspect of

the Motion to be well-taken and concludes that the ends of justice served by

granting the requested continuance outweigh the best interest of the public and the

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defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Thus, the agreed motion is

GRANTED and the Court will set a trial date outside the Speedy Trial Act's 70-day

rule. See also ECF Nos. 28, 35. The delay occasioned by the continuance is properly

excluded from the time limits of the Speedy Trial Act.

         The Court GRANTS the Motion to continue the case schedule with new dates

set forth as below.

I.       TRIAL DATE

         The Final Pretrial Conference is set for January 18, 2022 at 1:30 p.m. in

Judge Morrison’s conference room. This case is set for jury trial on January 24,

2022 at 9:00 a.m. in Courtroom # 132.


II.      DISCOVERY AND INSPECTION

         Counsel for Defendant is directed to contact the Assistant United States

Attorney prosecuting this case to arrange a meeting for the purpose of resolving all

requests for discovery permitted under the Federal Rules of Criminal Procedure,

including Rule 16. 1 Upon request for discovery by counsel for Defendant, the

Government shall disclose of evidence discoverable under the terms and conditions

of Rule 16 and in accordance with Brady v. Maryland, 373 U.S. 83 (1963). Any

response to Defendant’s request for discovery must be filed within one week of the

filing of such request.




        Unless otherwise specified, citation to any “Rule” shall refer to the Federal
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Rules of Criminal Procedure.
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       The discovery conference shall be held as promptly as possible but, in any

event, prior to August 18, 2021. If, at any time, any party fails to comply with Rule

16, such failure shall be brought to the Court’s attention by a specific motion to

compel discovery. Motions to compel shall be filed within one week of the date of a

party’s denial of the initial request.

III.   PLEA NEGOTIATIONS AND PLEA AGREEMENT

       Plea agreement discussions between the Assistant United States Attorney

and counsel for Defendant, pursuant to Rule 11, shall begin as soon as practicable.

If a plea agreement is reached, counsel must promptly notify the Court. Upon

receiving such notice, the Court will set a change of plea hearing.

       If needed, a/the Lafler hearing(s) will take place on December 16, 2021 at

10:00 a.m. in Courtroom # 132.


IV.    MOTIONS

       All motions of any kind, including but not limited to motions in limine, to

suppress, to sever, and to dismiss, must be filed on or before October 4, 2021. All

briefs in opposition must be filed on or before October 18, 2021. Motions and

Oppositions shall be limited to ten (10) pages. Reply briefs will not be permitted.

Any motion must state whether and why an evidentiary hearing is required. If the

Court agrees, a hearing will be set.

       Any motion to continue the trial date established by this Order must be in

writing and filed at least ten days prior to the scheduled trial date. The motion




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must identify those factors listed in 18 U.S.C. § 3161(h)(7)(B) which the movant

contends support the motion.

V.      JENCKS MATERIAL

        The Government shall disclose preliminary Jencks materials on December

6, 2021.

        The Government shall disclose sensitive Jencks materials on January 10,

2022.

VI.     EXPERT DISCLOSURES

        The Government and Defendants shall each file expert disclosures on

November 24, 2021.

VII.    EXHIBITS

        Counsel will mark all exhibits and assemble them in tabbed, three-ring

binders. The government’s exhibits will bear the prefix G followed by Arabic

numerals. Defendant’s exhibits will bear the prefix D followed by Arabic numerals.

Joint exhibits will bear the prefix J followed by Arabic numerals.

        The parties shall submit three copies of their tabbed exhibit binders to the

Court on January 19, 2022. Counsel shall provide one copy of their tabbed exhibit

notebook(s) to opposing counsel on January 19, 2022. The government will be

responsible for providing binders containing any joint exhibits. Each exhibit binder

must include a list of the exhibits in that binder.

        Counsel may not approach a witness at trial to tender an exhibit. Instead, the

Courtroom Deputy will present each exhibit to the witness. As applicable, questions

directed towards a witness must specify the relevant exhibit’s designation.
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        Exhibits produced for the first time during trial, such as those used for

impeachment, shall be marked and then tendered to the Courtroom Deputy and

displayed to opposing counsel. The proponent’s counsel must be prepared to provide

copies of such exhibits to opposing counsel, the Court, and the law clerk at the time

they are presented to a witness.

        Original exhibits must be returned to the Courtroom Deputy at the close of

each trial session. Counsel shall be responsible for any exhibits they expect to use

during trial.

VIII. STIPULATIONS

        Any stipulations must be filed on December 16, 2021.

IX.     VOIR DIRE EXAMINATION

        A.      Party Submissions

        The parties’ proposed voir dire questions shall be filed on December 16,

2021.

        B.      Questioning

        The entire panel of prospective jurors—those in the jury box and those in the

rear of the Courtroom—will be examined in one continuous examination.

        The Clerk’s Office will assign a number to each prospective juror. Counsel

will be provided with a list of the jurors’ names and juror numbers prior to the

commencement of trial. When challenging a juror, counsel should refer to the juror

by number only.

        The Court will conduct a preliminary voir dire examination tailored to the

issues in the case being tried. Counsel may supplement the Court’s examination,

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but may not repeat any question already put to the panel by the Court. Counsel

must address their questions to the whole panel and may not question an individual

juror unless a specific juror’s response to a question put to the whole panel justifies

further inquiry.

      Counsel will not be permitted to question jurors individually regarding

background information. This information is contained in the juror questionnaire

forms on file in the Clerk’s Office. Counsel should examine these questionnaires

prior to the commencement of trial. Counsel may inquire regarding any omission in

a juror’s answer to the juror questionnaire or, after obtaining the Court’s

permission, regarding any inquiry justifiably elicited by information contained in

the juror questionnaire.

      C.     Challenges

      After questioning, the Court will go to sidebar for the juror challenge process.

Counsel will accept, challenge for cause, or peremptorily challenge the entire panel

of potential jurors in a continuous sequence.

      Any juror seated in the jury box who is excused will be replaced by the next

available juror from the rear of the Courtroom.

      Each party will be entitled to the number of peremptory challenges set forth

in Rule 24. Peremptory challenges will be directed only to the prospective jurors

seated in the jury box. The parties will exercise their peremptory challenges

alternately, with the government exercising the first challenge and, in a felony case,

Defendant offering two challenges per turn. If either party “passes,” that challenge

will be considered as used. After the twelve regular jurors have been fully qualified,
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and counsel for both parties state that they are satisfied, peremptory challenges as

to any alternate jurors will be exercised in the same manner.

X.      SUPPLEMENTAL JURY QUESTIONNAIRES
        If desired, the parties shall submit a supplemental jury questionnaire to the

Court for consideration on October 4, 2021. If the parties cannot agree on the

language of a questionnaire, they may submit their own questions independently by

the same deadline.

XI.     PROPOSED JURY INSTRUCTIONS

        On December 16, 2021, the parties shall jointly file proposed jury

instructions, verdict forms, and interrogatories (if applicable). A courtesy copy shall

also be sent, in Word format, to the Court’s law clerk at

Amy_Vogel@ohsd.uscourts.gov. The proposed jury instructions shall include

citations to supporting authorities. If any party objects to the proposed instructions,

the objecting party shall note the specific objection and the grounds therefor, and

include alternative proposed instructions, in the same filing.


        IT IS SO ORDERED.


                                        /s/ Sarah D. Morrison
                                        SARAH D. MORRISON
                                        UNITED STATES DISTRICT JUDGE




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